                               Case 1:08-cv-00132-AWI-MJS Document 72 Filed 12/21/10 Page 1 of 5


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                          5                           UNITED STATES DISTRICT COURT
                          6                                EASTERN DISTRICT OF CALIFORNIA
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                              HOLLISTER GEORGE,                              )   1:08-CV-132 AWI MJS (HC)
                          8                                                  )
                                                    Petitioner,              )
                          9                                                  )   ORDER DENYING RESPONDENT’S
                                                                             )   RENEWED MOTION FOR STAY
                         10          v.                                      )
                                                                             )
                         11                                                  )   (Doc. No. 56)
                              W.J. SULLIVAN,                                 )
                         12                                                  )
                                                    Respondent.              )
                         13                                                  )
                         14
                                     Currently pending before the Court is Respondent’s renewed motion for stay. For the reasons
                         15
                              that follow, the Court will deny the motion.
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                                                                    BACKGROUND
                         18
                                     Petitioner challenged the denial of a parole date through this habeas corpus proceeding. On
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                              June 16, 2010, the Court declined to adopt a Findings and Recommendation and instead granted
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                              Petitioner’s request for a writ of habeas corpus. See Court’s Docket Doc. No. 22. The Court
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                              reviewed the denial of a parole date, determined that the decision was not supported by “some
                         22
                              evidence,” and ordered the California Board of Parole Hearings (“BPH”) to set a parole date within
                         23
                              30 days. See id.
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                                     Respondent requested that the Court issue a stay pursuant to Federal Rule of Civil Procedure
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                              62(c), and then filed a notice of appeal. See id. at Doc. Nos. 27, 28. On June 23, 2010, the Court
                         26
                              declined to issue a stay. See id. at Doc. No. 29. On July 1, 2010, the Ninth Circuit also declined to
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E. D . C alifornia
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                               Case 1:08-cv-00132-AWI-MJS Document 72 Filed 12/21/10 Page 2 of 5


                          1   issue a stay. See id. at Doc. No. 33.
                          2           On July 7, 2010, the BPH held a hearing and calculated George’s release date. See id. at
                          3   Doc. No. 38-2. As of July 7, 2010, George had already met his calculated release date. See id.
                          4   However, the BPH told George that the decision would not be final until the BPH en banc panel and
                          5   the Governor had reviewed the decision. See id.
                          6           On August 30, 2010, Petitioner filed a motion for immediate release pending appeal pursuant
                          7   to Federal Rule of Appellate Procedure 23(c). See id. at Doc. No. 38. On September 15, 2010, the
                          8   Court granted George’s motion for release pending appeal. See id. at Doc. No. 51. On September
                          9   24, 2010, the Court signed a stipulated conditions of release. See id. Respondent did not appeal this
                         10   order. On September 28, 2010, Petitioner was released under the supervision of the Federal Pretrial
                         11   Services. See Court’s Docket Doc. No. 55.
                         12           On October 29, 2010, Respondent filed a renewed motion to stay the Court’s June 16, 2010,
                         13   order. See id. at 56. The motion is based on intervening Ninth Circuit authority decided on October
                         14   12, 2010 – Haggard v. Curry, 623 F.3d 1035 (9th Cir. 2010). Haggard indicates that, when the
                         15   BPH unreasonably applies California’s ‘some evidence standard’ or makes its denial of a parole date
                         16   based on an unreasonable determination of the facts in light of the evidence, the appropriate remedy
                         17   is a new hearing by the BPH.
                         18           On November 2, 2010, the Court set a hearing date of December 6, 2010, to decide the
                         19   motion to stay.1 See Court’s Docket Doc. No. 59.
                         20           On December 1, 2010, the Court granted in part Petitioner’s motion for continuance and
                         21   moved the hearing date to December 20, 2010. See id. at Doc. No. 63. The Court has now received
                         22   all briefing on this matter.
                         23
                         24                                    RESPONDENT’S RENEWED MOTION
                         25           Respondent’s Argument
                         26           Respondent argues that the Court has the authority preserve the status quo pending an appeal.
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                         28           Petitioner filed a motion to strike Respondent’s renewed motion for stay and that motion was set for hearing on
                              December 6, 2010. Petitioner subsequently withdrew the motion to strike. See Court’s Docket Doc. No. 60.
U .S. D istrict C ourt
E. D . C alifornia                                                                      2
                               Case 1:08-cv-00132-AWI-MJS Document 72 Filed 12/21/10 Page 3 of 5


                          1   Under the Hilton factors,2 the intervening Haggard decision makes clear that the Court ordered an
                          2   improper remedy when it ordered the BPH to grant Petitioner a parole date, because the proper
                          3   remedy was a new hearing. Because the Court ordered an improper remedy, Respondent argues that
                          4   it has a high probability of success on appeal. Further, the remaining Hilton factors weigh in favor of
                          5   issuing a stay as described by Haggard. That is, Petitioner will not be irreparably injured because he
                          6   is not entitled to immediate release, and the public interest weighs in favor of a stay because it allows
                          7   the responsible state agency to determine parole suitability.
                          8            Petitioner’s Opposition
                          9            Petitioner argues that the Court does not have jurisdiction. First, although the Court does
                         10   have the ability to preserve the status quo pending appeal, Respondent is requesting that the Court
                         11   actually alter the status quo. Petitioner has had his term determined and he is under supervision.
                         12   Staying the order would undo what has already been done. Second, the application is moot because
                         13   there is no relief that the Court can provide. The BPH has calculated Petitioner’s term and that
                         14   decision is now final.3 That is, the BPH has already complied with the Court’s order. The Court
                         15   cannot turn back the clock to the day prior to the July 2010 BPH hearing. Third, Petitioner argues
                         16   that the Hilton factors do not weigh in favor of a stay.
                         17            Discussion
                         18            The Court is not convinced that it has the authority to issue a stay. First, the writ in this case
                         19   ordered the BPH to “calculate a term for Petitioner in accordance with the requirements of California
                         20   Penal Code § 3041, with credit for time since the February 15, 2007 decision as if parole had been
                         21   granted, and any other term credit to which he is entitled by law.” Court’s Docket Doc. No. 22. On
                         22   July 7, 2010, after the Ninth Circuit declined to issue a stay, the BPH followed the directive of the
                         23   writ. In other words, the BPH already has complied with the Court’s writ, so there is nothing to stay.
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                         25            2
                                        The Hilton factors are: “(1) whether the stay applicant has made a strong showing that he is likely to succeed on
                              the merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will
                         26   substantially injure the other parties interested in the proceeding; and (4) where the public interest lies.” Hilton v. Braunskill,
                              481 U.S. 770, 776 (1987).
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                                       Petitioner also points out that the time for the Governor to review the BPH’s new decision has passed, and there
                         28   was no reversal or modification of the BPH’s July 7, 2010, decision.

U .S. D istrict C ourt
E. D . C alifornia                                                                            3
                               Case 1:08-cv-00132-AWI-MJS Document 72 Filed 12/21/10 Page 4 of 5


                          1   See Doc. No. 85 in Eastern District of California case Valdivia v. Brown, 2:05-CV-416 FCD DAD.4
                          2   Because there is nothing for the Court to stay, Respondent’s renewed motion for stay of the Court’s
                          3   June 16, 2010, writ appears moot. See id.
                          4             Second, as both parties acknowledge, the purpose of a stay pending appeal is to preserve the
                          5   status quo. See Mayweathers v. Newland, 258 F.3d 930, 935 (9th Cir. 2001); Natural Resources
                          6   Defense Council, Inc. v. Southwest Marine, Inc., 242 F.3d 1163, 1166 (9th Cir. 2001). Citing
                          7   Natural Resources and Mayweathers, Respondent argues that the status quo is the situation that
                          8   existed at the time of the appeal. However, the circumstances of those cases are different from this
                          9   case. In Natural Resources, the district court made minor modifications to an existing injunction and
                         10   the modifications did not materially alter the status quo. See Natural Resources, 242 F.3d at 1165-
                         11   67. In Mayweathers, the district court issued a second injunction, which was identical to the first,
                         12   because the first injunction was set to expire. Mayweathers, 258 F.3d at 934-35. The second
                         13   injunction simply continued the first injunction, which was issued prior to the time of the appeal.
                         14   See id.
                         15             Both Mayweathers and Natural Resources involved injunctions that had been issued prior to
                         16   an appeal. In contrast, no injunction or stay was issued prior to Respondent’s appeal, and neither this
                         17   Court nor the Ninth Circuit took steps to preserve the status quo as of the time of Respondent’s
                         18   appeal. Since the time of the appeal, the circumstances of the case have changed dramatically: the
                         19   Ninth Circuit declined to issue a stay, the BPH held its hearing and issued a parole date, the Court
                         20   ordered George released under Pre-Trial Services supervision, Respondent did not challenge that
                         21   order, George has been released, and by all accounts his programming during supervised release has
                         22   been successful. Respondent’s motion would significantly change the now existing status quo. In
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                                        4
                                         In Valdivia v. Brown, Judge Damrell of this district issued a writ on March 14, 2008, that provided for essentially
                         24   identical relief as the writ in the case at bar. See Doc. No. 46 in Eastern District of California Case No. 2:05-cv-416 FCD
                              DAD. The Ninth Circuit initially stayed the writ, but in May 2010 lifted the stay. See id. at Doc. No. 60-2. After the stay
                         25   was lifted, the BPH set a parole date that Valdivia had already reached. See id. at Doc. No. 60-1. Valdivia then moved for
                              release pending the appeal, and the motion was granted. See id. at Doc. Nos. 73-76. Following the issuance of Haggard,
                         26   Respondent filed a motion to stay the M arch 14, 2008, writ order. See id. at Doc. No. 81. In denying the motion to stay on
                              December 8, 2010, Judge Damrell explained: “Because the [BPH] calculated a term for Petitioner in accordance with the
                         27   requirements of California Penal Code § 3041(a) and set a date for release, and because Petitioner has been released, the
                              court’s March 14, 2008, order has been fully executed. As such, there is nothing for the court to stay. [footnote omitted]
                         28   Accordingly, respondent’s motoin to stay is DENIED as MOOT.” Id. at Doc. No. 85.

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                               Case 1:08-cv-00132-AWI-MJS Document 72 Filed 12/21/10 Page 5 of 5


                          1   light of the posture of this case, it is not clear that returning to the state of affairs of June 2010 is
                          2   appropriate.
                          3
                          4                                                CONCLUSION
                          5           Respondent renews its motion to stay the Court’s June 16, 2010, writ order. Respondent has
                          6   not shown that a stay is appropriate. First, the writ has been executed by the BPH. Because the writ
                          7   has been executed, there is nothing for the Court to stay. As such, the renewed motion to stay the
                          8   June 2010 writ order appears to be moot. Second, the Court may issue a stay or injunction in order
                          9   to preserve the status quo, but otherwise loses jurisdiction once an appeal is filed. However, stays
                         10   have previously been denied by this Court and the Ninth Circuit in this case, and the status quo has
                         11   changed significantly since Respondent’s appeal in June 2010. Respondent has not shown that it is
                         12   appropriate to look at the status quo as it existed in June 2010.
                         13
                         14           Accordingly, IT IS HEREBY ORDERED that Respondent’s renewed motion for stay is
                         15   DENIED.
                         16   IT IS SO ORDERED.
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                              Dated:     December 21, 2010
                         18   0m8i78                                                 CHIEF UNITED STATES DISTRICT JUDGE
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